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                 Exhibit 15
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                                                             1939078
                        ARTICLES OF INCORPORATION
                                                                   . FILED
                                                         In the Office of th S
                                                               at the stateeot ~:m~~;~' State
                                                               ocr o 6 1999
The name of this corporation is: Online NIC Inc.
                                                           7Jdf~AA•-
                                                          BILL JONES, Se~~fite


                                      II


The purpose of the corporation is to engage in any lawful act or activity for
which a corporation may be organized under the GENERAL CORPORATION
LAW Of California other than the banking business, the trust company
business or the- practice of a profession permitted to be incorporated by the
California Corporation Code.


                                      Ill


The name and address in the State of California of this corporation's
initial agent for the service of process is: Shaohui Gong, 3435 Wilshire
Blvd., Los Angeles, CA 90010.


                                      v

This corporation is authorized to issue only one class of shares of stock;
and the total number of shares which this corporation is authorized to issue
is 60,000,000.




Date: October 6, 1999
                                       Shaohui Gong, Incorporator




                                                                              ONLINENIC 000072
